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   9

  10                                    UNITED STATES DISTRICT COURT
  11
                                       CENTRAL DISTRICT OF CALIFORNIA

  12                                                          Case No. 2:18-cv-01469AB-RAO
        NICKY RIVERA, et al.,
  13                           Plaintiff(s),
  14                                                          JOINT RULE 26(F) REPORT
                   v.
  15                                                          Hearing:
                                                              Date: August 10, 2018
  16                                                          Time: 10:30 a.m.
        MIDWAY IMPORTING INC.
  17                                                          The Hon. Andre Birotte Jr.
                               Defendant(s).                  Los Angeles, Courtroom 7B
  18
                                                              Complaint filed: February 22, 2018
  19
                                                              Trial Date: None Set
  20

  21

  22                                           JOINT RULE 26(f) REPORT
  23             In accordance with Federal Rule of Civil Procedure 26(f) and the Order of the
  24 Honorable Andre Birotte Jr. of May 15, 2018, counsel for the parties submit this

  25 Report for the Court’s review. The parties conferred telephonically on July 20, 2018,

  26 and have continued to correspond through email and by phone following the formal

  27 26(f) conference.

  28
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       04772-00006/9539644.1                                                     JOINT RULE 26(f) REPORT
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   1 a.     Statement of the Case
   2        (1)    Plaintiffs’ Statement
   3        Plaintiffs are residents of the States of New York and California and made
   4 purchases in 2016 and 2017 of products that Midway represented as being “Natural

   5 Soap.” The Products at issue were marketed as Grisi Regenerative Aloe Vera Natural

   6 Soap, Grisi Balance Oat Natural Soap, Grisi Lightening Mother of Pearl Natural Soap,

   7 and Grisi Moisturizer Donkey’s Milk Natural Soap, and the Plaintiffs all made

   8 purchases for personal use. Plaintiffs allege the products were not “Natural” but
   9 instead contained synthetic ingredients. Plaintiffs have brought suit on behalf of a

  10 nationwide class and two state subclasses for breach of the consumer protection laws

  11 of New York, California, and numerous other states, breach of express and implied

  12 warranties, and violation of the Magnuson Moss Warranty Act.

  13        As noted below, the parties are currently litigating a motion to dismiss many of
  14 Plaintiffs’ claims. Defendant filed a motion to dismiss Plaintiffs’ First Amended

  15 Complaint on May 7, 2018 and Plaintiffs opposed the motion on June 21, 2018.

  16        (2)    Defendant’s Statement
  17        Defendant Midway Importing, Inc. (“Midway”) disputes and denies the
  18 allegations in Plaintiffs’ First Amended Complaint. As an initial matter, each of

  19 Plaintiffs’ claims fail as to Midway because, as Plaintiffs are well aware, Midway as

  20 the importing distributor of the Grisi products had no part in the formulation, labeling,

  21 or marketing of the products at issue in this case. Rather, each of the soap products

  22 about which Plaintiffs complain are formulated, packaged, labeled, and marketed by

  23 Grisi – a Mexican company not party to this suit.

  24        Further, Plaintiffs’ claim that the Grisi soap products are deceptively labeled as
  25 “natural soap” because each product purportedly contains one to three “synthetic”

  26 ingredients is meritless. The Grisi soap products are comprised of almost entirely

  27 natural ingredients, consistent with their “natural soap” labeling.          Moreover, a
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   1 “reasonable consumer” who “value[s] natural products for important reasons” would

   2 review the clear and conspicuous ingredient list, which prominently discloses the

   3 allegedly “synthetic” ingredients in bold, all capital letters, in English and in Spanish.

   4 Those disclosures belie any alleged “deception.”

   5        Plaintiffs’ action against Midway is not its first. New York Plaintiff Nicky
   6 Rivera has already filed and voluntarily dismissed a nearly identical complaint in New

   7 York district court after Midway filed a motion to dismiss that case.              Adding
   8 California Plaintiffs Balmore Prudencio and Michelle Quintero, Plaintiff Rivera
   9 refiled the complaint in this jurisdiction. The First Amended Complaint is Plaintiffs’

  10 third bite at the apple.    Midway’s Motion to Dismiss Plaintiffs’ First Amended
  11 Complaint [Dkt. 18], is set for hearing on August 10, 2018, and more fully details the

  12 numerous and fatal deficiencies within Plaintiffs’ First Amended Complaint.

  13 b.     Subject Matter Jurisdiction
  14        Jurisdiction is proper pursuant to 28 U.S.C. § 1332(d)(2). Plaintiffs Balmore
  15 Prudencio and Michelle Quintero are citizens of the State of California. Plaintiff

  16 Nicky Rivera is a resident of the State of New York. Defendant is a corporation with

  17 its principal place of business in Houston, Texas, and is organized and exists under

  18 the laws of the State of Texas. Plaintiffs have alleged the amount in controversy is in

  19 excess of $5,000,000, exclusive of interests and costs.

  20 c.     Legal Issues
  21        (1)    Plaintiffs’ Statement
  22        The parties are currently litigating a motion to dismiss many of Plaintiffs’
  23 claims. Plaintiffs contend that they have standing to challenge products they did not

  24 personally purchase, to seek injunctive relief, and to represent out-of-state consumers,

  25 that the Court has personal jurisdiction over the claims of absent class members

  26 nationwide. Plaintiffs also submit that they have satisfied the heightened pleading

  27 requirements of FRCP 9(b) and have adequately pled that a reasonable consumer

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   1 would find Defendant’s representations misleading. Plaintiffs will seek to represent

   2 a national class of consumers, with appropriate subclasses, under Rule 23. Whether

   3 class treatment is appropriate will be the next major legal issue in the case. Once the

   4 scope of the class is determined, Plaintiffs will seek to prove their claims on the

   5 merits. Legal issues relevant to this determination are whether a reasonable consumer

   6 would find Midway’s statements misleading; whether a reasonable consumer would

   7 find Midway’s statements material; whether Midway’s conduct breached its express

   8 or implied warranties; and the proper measurement of damages, if any.
   9        (2)    Defendant’s Statement
  10        Midway has submitted a Motion to Dismiss Plaintiffs’ First Amended
  11 Complaint [Dkt. 18], which seeks dismissal of each of Plaintiffs’ claims for numerous

  12 reasons, as follows:

  13        First, Plaintiffs have failed to establish Article III standing to pursue claims as
  14 to all the products at issue. Plaintiffs allege that they purchased only two of the

  15 identified products, and therefore lack standing as to the two products they did not

  16 purchase. Plaintiffs also have failed to establish standing as to their claim regarding

  17 injunctive relief. Now that they are aware of the alleged deception, Plaintiffs cannot

  18 plausibly allege that they will be deceived again in the future, particularly because the

  19 ingredients about which they complain are clearly listed on the label.            Further,
  20 Plaintiffs have failed to establish standing to sue under the laws of states where they

  21 do not reside and did not purchase the product(s) at issue.

  22        Second, claims brought by non-California plaintiffs, including New York
  23 Plaintiff Nick Rivera, fail because this Court lacks personal jurisdiction to adjudicate

  24 those claims, as Midway is both incorporated and has its principal place of business

  25 in Texas, and is therefore not subject to general jurisdiction in California.

  26        Third, Plaintiffs’ California and New York consumer protection claims fail
  27 because Plaintiffs have failed to plausibly allege that a reasonable consumer would

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   1 read the term “natural” on the label to mean that the products do not contain any

   2 “synthetic” ingredients whatsoever—despite the fact that the labels nowhere claim

   3 that the Grisi Soap Products are “all natural” or “100%” natural. Such a claim is

   4 particularly unreasonable where, as here, the “synthetic” ingredients about which

   5 Plaintiffs complain are clearly and prominently disclosed on the label in English and

   6 Spanish. Further, Plaintiffs have failed to meet their pleading burden under Rule 9(b)

   7 by, inter alia, failing to allege with particularity how they came to “belie[ve]” that

   8 natural products, including the Grisi Soap Products, are “safer and healthier” than
   9 products lacking a “natural” label; what safety and health benefits they expected to

  10 receive from the product, and that they did not in fact receive those benefits; and

  11 finally, what Midway, an importer and distributor who did not manufacture, package,

  12 label, or directly sell the product, had to do with any of this.

  13        Fourth, Plaintiffs’ express warranty claim fails under California law because
  14 the ingredients were disclosed to Plaintiffs in the ingredient list, and under New York

  15 law because Midway and Plaintiffs lack privity.

  16        Fifth, Plaintiffs’ Magnuson Moss Warranty Act claim fails because Plaintiffs
  17 have not pled that they meet the requirements of the act (100 named plaintiffs,

  18 minimum $25.00 individual claims, and a minimum $5.00 product cost), and because

  19 the term “natural” does not constitute a warranty under the MMWA.

  20        Sixth, Plaintiffs implied warranty of merchantability claim fails under
  21 California law because Midway and Plaintiffs are not in privity and because Plaintiffs

  22 have not (and cannot) plead that the Grisi Soap Products were not merchantable for

  23 their intended use as soap.

  24        Should the Court deny Midway’s Motion in whole or in part, Midway has
  25 alternatively requested that this Court stay the case pursuant to the Primary

  26 Jurisdiction doctrine in light of the FDA’s imminent guidance regarding the use of

  27 the word “natural” on product labeling.

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   1        Should Plaintiffs’ action survive Midway’s Motion to Dismiss, Midway will
   2 seek to defend its case on the merits, including through expert discovery showing that

   3 a reasonable consumer would not be misled by the “natural” labeling on Grisi soap

   4 products, and through fact discovery by showing that Midway had no role in the

   5 creation of the product packaging containing the “natural soap” representations about

   6 which Plaintiffs complain.

   7        In addition, Midway disputes and denies Plaintiffs’ assertion that this case is
   8 amenable to class action treatment. Among other things, Plaintiffs will be unable to
   9 establish that common, as opposed to individual, issues will predominate because (1)

  10 the composition of each of the products, including the composition of natural and

  11 alleged synthetic ingredients, differ; and (2) the claims being challenged would not

  12 be uniformly seen by or material to all purchasers. Midway also reserves its right to

  13 oppose Plaintiffs’ class certification motion on the basis that it is untimely pursuant

  14 to Local Rule 23-3, and that class counsel is inadequate for failing to seek relief from

  15 the Local Rule in advance of its deadline to file a class certification motion.

  16 d.     Parties, Evidence, Etc.
  17        (1)    Plaintiffs’ Statement
  18        Named Plaintiffs Nicky Rivera, Balmore Prudencio, and Michelle Quintero are
  19 parties to the case and percipient witnesses. As discovery has not begun in this case,

  20 Plaintiff is not yet aware of key documents on the main issues in this case, other than

  21 the receipt for the product purchased by Ms. Rivera.

  22        (2)    Defendant’s Statement
  23        Midway anticipates that it may call Nicky Rivera, Balmore Prudencio, Michelle
  24 Quintero, corporate representative(s) from Midway who are familiar with Midway’s

  25 business practices as they relate to the Grisi soap products, and one or more scientific

  26 and damages experts. With respect to key documents, Midway anticipates that key

  27 documents will include product labels for the Grisi soap products; ingredient lists for

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   1 the Grisi soap products; and documents evidencing Plaintiffs’ purchase(s) of the Grisi

   2 soap products. However, because discovery has not yet begun in this case, Midway

   3 reserves its rights to call additional witnesses or use additional documents not

   4 identified herein.

   5        Midway does not have any parent companies, subsidiaries, or affiliates.
   6 e.     Damages
   7        Plaintiffs are unable to provide a realistic class-wide damages estimate until
   8 they have taken discovery on the composition of the class.
   9        Defendant does not believe that Plaintiffs have suffered any injury and
  10 consequently, are not entitled to any damages.

  11 f.     Insurance
  12        At this time, there is no expectation of insurance coverage.
  13 g.     Motions
  14        In addition to the motion to dismiss, and following appropriate discovery,
  15 Plaintiffs intend to move for certification of a national class and state subclasses under

  16 FRCP 23. Plaintiffs believe that causation and materiality can be litigated on a class-

  17 wide basis and that common issues will predominate over individual ones. Plaintiffs

  18 do not anticipate motions seeking to add new parties or claims, or motions to file

  19 amended pleadings barring an order to do so from this Court.

  20        (2)    Defendant’s Statement
  21        Absent a stipulation between the parties, Midway reserves its right to oppose
  22 any motion for class certification on the ground that Plaintiffs have failed to comply

  23 with Local Rule 23-3 and have therefore missed the deadline to move this Court to

  24 certify a class action. Should the Court permit a later-filed certification motion, the

  25 parties have agreed that the motion for class certification should be heard on the same

  26 date as Midway’s intended motion for summary judgment.

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   1 h.      Dispositive Motions
   2         Plaintiffs may file a motion for summary judgment or for partial summary
   3 judgment depending on the results of discovery.

   4         (2)     Defendant’s Statement
   5         Midway’s Motion to Dismiss has been fully briefed and is scheduled for
   6 hearing on August 10, 2018. Should the Court deny the Motion to Dismiss in whole

   7 or in part, Midway intends to file a motion for summary judgment as to all remaining

   8 claims.
   9 i.      Manual for Complex Litigation
  10         The parties agree that the Manual for Complex Litigation can generally be used
  11 as a guide for this case.

  12 j.      Status of Discovery
  13         The parties have not yet propounded discovery requests. It is Midway’s
  14 position that discovery should be stayed until after the ruling on Midway’s Motion to

  15 Dismiss in order to preserve party and judicial resources, as the ruling on the Motion

  16 could dispose of or significantly reduce the scope of discovery required in this case,

  17 including as to the products at issue and non-California claims and class members.

  18 k.      Discovery Plan
  19         The parties have agreed to exchange their Rule 26(a) disclosures within 30 days
  20 of the filing of this report.

  21         (1)     Plaintiffs’ Subjects for Discovery
  22         Plaintiffs anticipate conducting discovery on: the composition and ingredients
  23 in the soap; the representations made to consumers; and the sales volume of the soap.

  24 Plaintiffs further anticipate two types of experts in this case, those needed for class

  25 certification purposes and those needed for trial. To that end, all class certification

  26 expert(s) should be disclosed in conjunction with the briefing of the class certification

  27 motion.       Any trial experts should be disclosed in keeping with the Schedule
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   1 Worksheet below. An expert tendered for both certification and trial purposes may

   2 have to be presented for deposition a second time in regards to their role as a trial

   3 expert, although the parties will work cooperatively to narrow duplication.

   4        Plaintiffs believe that both class and merits discovery should proceed
   5 simultaneously and that there is no need for bifurcation.

   6        (2)    Defendant’s Subjects for Discovery
   7        Midway plans to serve an initial set of requests for production, interrogatories,
   8 and requests for admission promptly after the Scheduling Conference. These requests
   9 will focus on Plaintiffs’ occupations, educations, and knowledge of “natural” versus

  10 synthetic ingredients; Plaintiffs’ purchase and use history of the Grisi soap products

  11 and other soap products, as well as whether the Grisi soap products were purchased

  12 for household purposes; what labeling Plaintiffs were exposed to, including whether

  13 they were exposed to any labeling by Midway; Plaintiffs’ intent to continue

  14 purchasing and using the Grisi soap products; and whether Plaintiffs’ have filed any

  15 other class actions related to “natural” claims.

  16 l.     Discovery Cut-off
  17        The parties propose a discovery cut-off date of March 1, 2019 for both expert
  18 and fact discovery.

  19 m.     Expert Discovery
  20        The parties propose an initial expert disclosure date of November 30, 2018 and
  21 a date for disclosure of rebuttal experts of January 18, 2019.

  22 n.     Settlement Conference/Alternative Dispute Resolution (“ADR”)
  23        Settlement discussions have not yet occurred. As indicated in the ADR
  24 Procedure Selection form, the parties select ADR Procedure No. 3 to participate in a

  25 private dispute resolution proceeding. The parties will meet and confer on a private

  26 mediator and mediation date.

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    1 o.     Trial Estimate
    2        (1)    Plaintiffs’ Position
    3        With the current information available and the anticipation of this case
    4 becoming potentially expert-intensive regarding the composition of the product, it is

    5 Plaintiffs’ position that trial could exceed 3 weeks and involve more than 10 witnesses

    6 per side.

    7        (2)    Defendant’s Position
    8        Defendant estimates that trial will last approximately 5-10 court days, and
    9 anticipates calling approximately seven to ten witnesses.

   10 p.     Trial Counsel
   11        Plaintiffs’ Trial Counsel:
   12        Jason Sultzer, Esq.
   13        THE SULTZER LAW GROUP, P.C.
             85 Civic Center Plaza, Suite 104
   14        Poughkeepsie, New York 12601
   15        Tel: 845-483-7100
   16
             Defendant’s Trial Counsel:
   17
             Michael Mallow
   18
             Amy Lally
   19        SIDLEY AUSTIN LLP
             1999 Avenue of the Stars, 17th Floor
   20
             Los Angeles, CA 90067
   21 q.     Independent Expert of Master:
   22        The parties do not believe that appointing a master pursuant to FRCP 53 or an
   23 independent scientific expert is necessary in this case.

   24 r.     Schedule Worksheet:
   25        See attached completed Schedule of Pretrial Dates Worksheet.
   26

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    1 s.     Other Issues
    2        The parties have agreed to execute and file a stipulated protective order to
    3 govern the production and use of documents and information in this litigation.

    4
        Dated: July 27, 2018               SHOOP, A PROFESSIONAL LAW
    5                                      CORPORATION
    6
                                           By: /s/ David R. Shoop
    7                                          David R. Shoop, Esq.
                                               Thomas S. Alch, Esq.
    8
    9   Dated: July 27, 2018               LEEDS BROWN LAW, P.C.
   10
                                           By: /s/ Jeffrey Brown
   11                                          Lenard Leeds, Esq.
                                               Jeffrey Brown, Esq.
   12

   13   Dated: July 27, 2018               THE SULTZER LAW GROUP P.C.
   14
                                           By: /s/ Adam Gonnelli
   15                                          Jason P. Sultzer, Esq.
                                               Joseph Lipari, Esq.
   16                                          Adam Gonnelli, Esq.
                                               Jeremy Francis, Esq.
   17
                                                Attorneys for Plaintiffs and the Class
   18

   19   Dated: July 27, 2018               SIDLEY AUSTIN, LLP
   20
                                           By: /s/ Rachael A. Rezabek
   21                                          Rachael A. Rezabek, Esq.
   22                                          Attorneys for Defendant
   23

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                                              JUDGE ANDRÉ BIROTTE JR.
                                  SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET

                        Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                           The Court ORDERS the parties to make every effort to agree on dates.
    1
             Case No. 2:18-cv-01469                Case Name: Rivera, et al. v. Midway Importing, Inc.
    2
                                                                                         Pl(s)’ Date     Def(s)’ Date    Court Order
    3                      Trial and Final Pretrial Conference Dates
                                                                                        mm/dd/yyyy       mm/dd/yyyy      mm/dd/yyyy
    4
             Check one: [ X ] Jury Trial or [ ] Court Trial
                                                                                                                        [ ] Jury Trial
    5        (Tuesday at 8:30 a.m., within 18 months after Complaint filed)             11/19/2019      11/19/2019
                                                                                                                        [ ] Court Trial
             Estimated Duration: ___5-21____ Days
                                                                                                                        _______ Days
    6
             Final Pretrial Conference (“FPTC”) [L.R. 16], Hearing on Motions
             In Limine                                                                  11/1/2019       11/1/2019
    7        (Friday at 11:00 a.m., at least 17 days before trial)

    8                                 Event 1                               Weeks
                                                                                         Pl(s)’ Date    Def(s)’ Date     Court Order
                   Note: Hearings shall be on Fridays at 10:00 a.m.         Before
                                                                                        mm/dd/yyyy      mm/dd/yyyy       mm/dd/yyyy
                      Other dates can be any day of the week.               FPTC
    9
             Last Date to Hear Motion to Amend Pleadings /Add Parties
                                                                                        9/7/2018        9/7/2018
   10        [Friday]
             Non-Expert Discovery Cut-Off
                                                                                17      3/1/2019        3/1/2019
   11        (no later than deadline for filing dispositive motion)
             Expert Disclosure (Initial)                                                11/30/2018      11/30/2018
   12
             Expert Disclosure (Rebuttal)                                               01/18/2019      01/18/2019
   13        Expert Discovery Cut-Off                                        12     2   3/1/2019        3/1/2019

   14        Last Date to Hear Motions [Friday]
              • Rule 56 Motion due at least 5 weeks before hearing
              • Opposition due 2 weeks after Motion is filed
                                                                                12      6/21/2019       6/21/2019
   15         • Reply due 1 week after Opposition is filed

             Deadline to Complete Settlement Conference [L.R. 16-15]
   16         Select one: [ ] 1. Magistrate Judge (with Court approval)
                                                                                10      8/20/2019       8/20/2019
                                                                                                                        [ ] 1. Mag. J.
                          [ ] 2. Court’s Mediation Panel                                                                [ ] 2. Panel
                          [X] 3. Private Mediation                                                                      [ ] 3. Private
   17
             Trial Filings (first round)
              • Motions In Limine
   18         • Memoranda of Contentions of Fact and Law [L.R. 16-4]
              • Witness Lists [L.R. 16-5]
              • Joint Exhibit List [L.R. 16-6.1]
   19         • Joint Status Report Regarding Settlement
                                                                                3       10/11/2019      10/11/2019
              • Proposed Findings of Fact and Conclusions of Law
   20           [L.R. 52] (court trial only)
              • Declarations containing Direct Testimony, if ordered
                (court trial only)
   21
             Trial Filings (second round)
              • Oppositions to Motions In Limine
   22         • Joint Proposed Final Pretrial Conference Order
                [L.R. 16-7]
              • Joint/Agreed Proposed Jury Instructions (jury trial only)
   23         • Disputed Proposed Jury Instructions (jury trial only)
              • Joint Proposed Verdict Forms (jury trial only)
                                                                                2       10/18/2019      10/18/2019
   24         • Joint Proposed Statement of the Case (jury trial only)
              • Proposed Additional Voir Dire Questions, if any (jury
                trial only)
   25         • Evidentiary Objections to Decls. of Direct Testimony
                (court trial only)
   26
        1
             The parties may seek dates for additional events by filing a separate Stipulation and Proposed Order. Class
             actions and patent and ERISA cases in particular may need to vary from the above.
   27
        2
             The parties may wish to consider cutting off expert discovery prior to the deadline for filing an MSJ.
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